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                          UNITED STATES DISTRICT COURT
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                        EASTERN DISTRICT OF WASHINGTON
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 7
     UNITED STATES OF AMERICA,                       2:16-CR-063-SMJ-2
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 9                     Plaintiff,                    ORDER GRANTING MOTION
                                                     TO AMEND CONDITIONS OF
10 vs.                                               RELEASE
11
   ALBERT CASTRO, JR.,
12
13                     Defendant.
14         Before the Court is Defendant’s Motion to amend the pretrial conditions of
15   release.   Defendant requests modification of his curfew to accommodate his
16   changing work schedule. Neither the United States nor the U.S. Probation Office
17   object to Defendant’s request. Defendant also requests that the U.S. Probation
18   Office be granted the authority to modify his curfew as needed to accommodate his
19   changing work schedule, without the need to return to the Court for modification.
20         IT IS ORDERED:
21         1.     Defendant’s unopposed Motion to amend pretrial conditions of
22   release, ECF No. 86, is GRANTED. The Motion to expedite, ECF No. 87, is
23   GRANTED.
24         2.     Defendant’s curfew is modified as follows:           Defendant shall be
25   restricted to his/her residence every day from 4:00 a.m. and 2:00 p.m.
26         3.     Defendant’s supervising Pretrial Services Officer is authorized to
27   further modify this curfew, without further application to the Court, when
28   specifically necessary to accommodate Defendant’s employment.



     ORDER - 1
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 1          4.     All other terms and conditions of pretrial release, ECF No. 51, not
 2   inconsistent herewith shall remain in full force and effect.
 3          DATED October 18, 2016.
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 5                                  _____________________________________
                                              JOHN T. RODGERS
 6                                   UNITED STATES MAGISTRATE JUDGE
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     ORDER - 2
